                         UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

SHARON LEE on behalf of herself
individually, and on behalf of all others
similarly situated,

                Plaintiff,

        v.
                                                    Case No.: 5:19-cv-00156
ARGENT TRUST COMPANY, CHOATE
CONSTRUCTION COMPANY ESOP                           CLASS ACTION COMPLAINT
COMMITTEE, CHOATE CONSTRUCTION
COMPANY BOARD OF DIRECTORS,
WILLIAM MILLARD CHOATE, DAVE
PRIESTER, MEMBERS OF THE CHOATE
CONSTRUCTION COMPANY ESOP
COMMITTEE (John and Jane Does 1-10),
MEMBERS OF THE CHOATE
CONSTRUCTION COMPANY BOARD OF
DIRECTORS (John and Jane Does 11-20),
and SELLING SHAREHOLDERS (John and
Jane Does 21-35),

                Defendants.


      Plaintiff Sharon Lee by and through her counsel, alleges as follows:

                                      INTRODUCTION

       1.       This is a civil enforcement action brought pursuant to Sections 502(a)(2) and 502

(a)(3) of the Employee Retirement Income Security Act of 1974, as amended (“ERISA”), 29

U.S.C. § 1132(a)(2) and (a)(3), by Plaintiff, on behalf of herself and other participants and

beneficiaries in the Choate Construction Company Employee Stock Ownership Plan (“Choate

ESOP,” “the ESOP” or “the Plan”).

       2.       The Choate ESOP is an ERISA protected retirement plan whereby the individual

retirement accounts of current and former employees are invested entirely in the stock of Choate



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  Construction Company (“Choate” or the “Company”). There is no recognized market for

  Choate stock; thus, the value of the stock must be determined based on a private valuation of the

  Company.

         3.      Plaintiff’s claims stem from the creation of the Choate ESOP in December 2016

  and, shortly thereafter, the sale of 80% of the Company’s stock to the Choate ESOP at an

  inflated value (the “2016 Sale”). This transaction was not conducted in the best interests of the

  employees, who are the ESOP participants, and resulted in tens of millions of dollars of losses

  to the employees’ retirement savings held in the ESOP.

         4.      On December 6, 2016, the ESOP purchased 8 million shares of the Company’s

  voting common stock, representing 80% of the Company, for $198 million. According to

  public filings available on the Department of Labor website, Choate stock was valued at just

  $64.8 million less than a month after its sale to the ESOP, meaning the stock had lost 2/3 of its

  value as of December 31, 2016, after its purchase from the Selling Shareholders.

         5.      In December 2016, the Company also redeemed 2,000,000 shares of voting

  common stock then held by the selling shareholders, which represent 20% of the Company’s

  fully diluted equity, in exchange for: (a) 26,667 shares of non-voting common stock, which

  would represent 0.20% of the Company’s fully diluted equity; and (b) warrants to acquire

  5,306,667 shares of voting common stock which would represent 39.80% of the Company’s

  fully diluted equity. The issuance of the warrants to the Selling Shareholders would dilute the

  value of the 8 million shares the ESOP purchased for $198 million from an 80% to 60%

  ownership interest, and on information and belief allowed the Selling Shareholders to retain

  control of the Company.




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         6.       The valuation relied upon by Argent Trust Company (“Argent”) to complete the

  transaction did not fully account for the negative effects of the warrants on the value of the 8

  million shares the ESOP purchased, including the dilution of the ESOP’s interest to just 60%

  via exercise of the warrants and that the warrants allowed the Selling Shareholders to retain

  elements of control over the Company.

         7.       Argent, the Trustee who represented the ESOP participants in the 2016 Sale, was

  chosen by the people who sold their interest in the Company to the ESOP (the “Sellers” or

  “Selling Shareholders”). The fact that Argent who represented the ESOP in the transaction was

  selected and retained by the Sellers, who ultimately benefited from ESOP overpaying the

  Selling Shareholders for the stock, meant that Argent and the Sellers were operating under

  significant conflicts of interest at the expense of the ESOP participants.

         8.       The Selling Shareholders, named as Defendants below, illegally profited from

  the 2016 Sale by receiving an inflated price for the Company stock they sold to the ESOP. The

  Selling Shareholders were enriched by tens of millions of dollars at the expense of the ESOP

  participants.

        9.        As described below, the Selling Shareholders and the Trustee violated Sections

 404 and 406 of ERISA, 29 U.S.C. §§ 1104, and 1106, and those violations caused tens of

 millions of dollars in losses to the ESOP participants who overpaid for the 8 million shares of

 Company stock they purchased.

                        JURISDICTION, VENUE, AND CLASS PERIOD

        10.       Subject Matter Jurisdiction. This Court has subject matter jurisdiction over this

 action pursuant to 28 U.S.C. § 1331 and ERISA § 502(a), 29 U.S.C. § 1132(a).




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        11.     Personal Jurisdiction. This Court has personal jurisdiction over Defendants

 because they transact business in, and have significant contacts with, this District, and because

 ERISA § 502(e)(2), 29 U.S.C. § 1132(e)(2), provides for nationwide service of process.

        12.     Venue. Venue is proper in this district pursuant to ERISA § 502(e)(2), 29 U.S.C.

 § 1132(e)(2), for at least the following reasons:

                (a)       Defendants may be found in this District, as they transact business in, and

        have significant contacts with this District, and/or reside in this District;

                (b)       Plaintiff lives in this District and will receive her ESOP benefits in this

        District.

        13.     Class Period. The Class Period runs from December 9, 2016, the date the Selling

 Shareholders sold the Company stock to the ESOP, to present day.

                                                PARTIES

 Plaintiff

        14.     Plaintiff Sharon Lee is a former employee of Choate and a current participant in

 the Choate ESOP within the meaning of ERISA § 3(7), 29 U.S.C. § 1002(7). Plaintiff Sharon

 Lee began working at Choate on April 9, 2007 as an estimator in the Raleigh, North Carolina

 office. She left Choate on April 19, 2017. At the time she left Choate, Plaintiff Lee was fully

 vested in the ESOP. She currently resides in Raleigh, North Carolina.

 Defendants

         15.        Argent is the Trustee of the Choate ESOP. Argent acquired its fiduciary services

  business from Reliance Trust Company. Argent’s predecessor, Reliance Trust Company,

  reached a settlement with the Department of Labor in connection with the Tobacco Rag

  Processors ESOP because the Department of Labor found that Reliance Trust Company, when




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  acting as the trustee for the Tobacco Rag Processors ESOP caused the ESOP to overpay for

  Tobacco Rag Processors Inc. stock.

        16.     Argent, as Trustee, is responsible for the investment of the ESOP’s assets. Argent

 is a fiduciary of the ESOP within the meaning of ERISA § 3(21)(A)(i), 29 U.S.C. § 1002(21)

 (A)(i), because it exercises discretionary authority or discretionary control respecting

 management of the ESOP and exercises control over the ESOP’s assets.

        17.     In its fiduciary capacity, Argent authorized the ESOP’s purchase of 80% of

 Choate stock from the Selling Shareholders for inflated value and caused the ESOP to take on

 $198 million in debt to complete the purchase.

        18.     Committee Defendants: According to public filings the Choate Construction

 Company ESOP Committee (“the Committee”) is the Plan Administrator within the meaning of

 ERISA § 3(16)(A), 29 U.S.C. § 1002(16)(A), and is thus responsible for the administration of the

 ESOP. The Committee and all members of the Committee during the Class Period were/are

 fiduciaries with respect to the ESOP within the meaning of ERISA § 3(21)(A)(iii), 29 U.S.C. §

 1002(21)(A)(iii), because they had/have discretionary authority or discretionary responsibility in

 the administration of the ESOP.

        19.     All individual members of the Committee are named as John and Jane Does 1

 through 10.

        20.     The Committee and the individual members of the Committee are collectively

 referred to as the “Committee Defendants.”

        21.     The Committee Defendants were and are fiduciaries with respect to the ESOP

 within the meaning of ERISA § 3(21)(A)(i), 29 U.S.C. § 1002(21)(A)(i), during the Class Period




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 because they exercised/exercise discretionary authority or discretionary control respecting

 management of the ESOP.

        22.     According to Section 2.8 of the Trust Agreement for the ESOP, the Committee is

 a “named fiduciary” within the meaning of ERISA.

        23.     According to Section 2.3(b) of the Trust Agreement for the Choate ESOP, the

 Committee determines how much of the employer contributions made to the ESOP will be

 retained as cash, and how much will be used to make any scheduled amortization payment on

 outstanding loans of the ESOP. As such, during the Class Period, the Committee Defendants

 exercised control over the ESOP’s assets and are fiduciaries within the meaning of ERISA §

 3(21)(A)(i), 29 U.S.C. § 1002(21)(A)(i).

        24.     According to Section 2.3(c) of the Trust Agreement for the Choate ESOP, the

 Committee determines what distributions to make for the ESOP, in what form the distribution

 will be made and when the distributions will be made. Additionally, Section 2.3(c) provides that

 it is the Committee’s responsibility to determine how to dispose of any ESOP assets arising from

 unclaimed ESOP benefits. As such, during the Class Period, the Committee Defendants

 exercised control over the ESOP’s assets and are fiduciaries within the meaning of ERISA §

 3(21) (A)(i), 29 U.S.C. § 1002(21)(A)(i).

        25.     According to Section 2.3(o) of the Trust Agreement for the Choate ESOP, the

 Committee directed Argent (the Trustee) as to how to invest or reinvest the assets of the ESOP

 which are not otherwise invested in Company Stock. As such, during the Class Period, the

 Committee Defendants exercised control over the ESOP’s assets and are fiduciaries within the

 meaning of ERISA § 3(21)(A)(i), 29 U.S.C. § 1002(21)(A)(i).




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         26.        Board Defendants: According to Section 2.8 of the Trust Agreement for the

 ESOP, the Choate Construction Company Board of Directors (“Board of Directors”) is a “named

 fiduciary” within the meaning of ERISA.

         27.       Additionally, acting for the Company, the Board of Directors appointed Argent to

 be the Trustee of the ESOP and retains the power to remove or replace the Trustee, at any time.

 See Section 6.2 of the Trust Agreement. Based on its appointment of the Trustee and its power

 to remove or replace the Trustee, the Board of Directors is and was a fiduciary to the ESOP at all

 relevant times.

         28.       The Board of Directors also appointed the members of the Committee and retains

 the power to remove or replace the Committee members, at any time. Based on its appointment

 of the Committee members and its power to remove or replace the Committee members, the

 Board of Directors is and was a fiduciary to the ESOP at all relevant times.

         29.       All individual members of the Board of Directors of Choate Construction

 Company are named as John and Jane Does 11 through 20. The Board of Directors and the

 individual members of the Board of Directors are collectively referred to as the “Board

 Defendants.”

         30.       Defendant William Millard Choate at the time of the sale was President of

 Choate, and shortly after the sale, he transitioned to Chairman and Chief Executive Officer

 (CEO) of Choate. On information and belief, he was and continues to be a member of the Board

 of Directors of Choate and is one of the Selling Shareholders who sold stock to the Choate

 ESOP.

         31.       Defendant Dave Priester transitioned, shortly after the sale, to President and

 Chief Operating Officer of Choate. On information and belief, he was and continues to be a




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 member of the Choate Board of Directors and is one of the Selling Shareholders. Defendant

 Priester works and resides in North Carolina.

        32.      Selling Shareholders: John and Jane Does 21-35 are the other selling

 shareholders who have sold Company Stock to the ESOP since December 2016. William

 Millard Choate, Dave Priester and the other selling shareholders are collectively referred to as

 the “Selling Shareholders.”

                                   FACTUAL ALLEGATIONS

        33.      Choate is a company that provides general contracting and construction

 management services. Founded in 1989, today it employs over 400 full-time professionals.

        34.      Before the Sale of the Company to the ESOP in December 2016, Choate was

 100% privately owned by the Selling Shareholders.

        35.      Prior to the 2016 Sale, CSG Partners was retained by the Company, then owned

 by William Millard Choate and the other Selling Shareholders, to advise them on the sale of the

 Company to the ESOP.

        36.      On information and belief, CSG Partners suggested a deal structure whereby: (1)

 the ESOP would purchase 80% of the outstanding Company stock, and (2) the Company would

 redeem the remaining 2,000,000 shares of voting common stock of the Company (20%) for

 26,667 shares of non-voting common stock, which would represent 0.20% of the Company’s

 fully diluted equity; and warrants to acquire 5,306,667 shares of voting common stock which

 would represent 39.80% of the Company’s fully diluted equity and be retained by the Selling

 Shareholders.

        37.      This deal structure was different than the traditional structure where the Selling

 Shareholders sell 100% of their interest in the Company to the ESOP. This novel structure was




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 designed to allow the Selling Shareholders to participate in future growth and/or merger

 opportunities and, on information and belief, to retain certain elements of control over the

 Company post-Sale.

        38.     On or about August 30, 2106, Argent was engaged and appointed by the Board of

 Directors of Choate Construction Company to be the Trustee of the ESOP and to represent the

 ESOP’s interest in the Sale of Company to the ESOP.

        39.     Argent engaged Stout Risius & Ross to be Argent’s independent appraiser and

 financial advisor. Stout Risius and Ross completed one or more valuations upon which Argent

 based its decision to complete the Sale on the ESOP’s behalf.

        40.     Greenberg Taurig acted as Argent’s legal advisor in the transaction.

        41.     The Company established the Choate ESOP and executed the Master Trust

 Agreement for the ESOP on December 9, 2016.

        42.     On that same day, December 9, 2016, the ESOP purchased 8,000,000 shares of

 Choate stock from the Selling Shareholders for a purchase price of $198 million, which was

 equal to a price of $24.75 per share. The purchase of 8 million shares represented 80% of

 outstanding Choate stock.

         43.     On December 14, 2016, the Company redeemed 2,000,000 shares of voting

  common stock of the Company which were then held by the Selling Shareholders and

  represented 20% of the Company’s fully diluted equity. In exchange for the 2 million shares,

  the Company issued to the Selling Shareholders 26,667 shares of non-voting common stock,

  which would represent 0.20% of the Company’s fully diluted equity; and warrants to acquire

  5,306,667 shares of voting common stock which would represent 39.80% of the Company’s

  fully diluted equity.




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        44.     The Sale provided the Selling Shareholders $57 million in cash at the time of Sale

 and the remaining $141 million in a form of debt owed to the Selling Shareholders.

        45.     The ESOP obtained two loans, together for $198 million, which were used by the

 ESOP as consideration to complete the purchase of the 8 million shares of the Company.

               The Company loaned the ESOP $57 million of the purchase price.

               The Selling Shareholders issued “Seller Notes” to the ESOP for the remainder of
                the purchase price, $141 million.

         46.     The Company Loan has a 25-year term and requires annual payments of

  principal and interest. Interest is payable at a rate equal to the long term applicable federal rate.

  The Company Loan is secured by a pledge of the ESOP shares acquired with the proceeds of

  the internal loan.

         47.     The Seller Notes had a 25-year term and required interest only payments for the

  first 7 years, and equal principal payments of $7,833,333 over the remaining term. Interest was

  payable at a rate equal to 4.00%. The Seller Notes were secured by a pledge of the ESOP shares

  acquired with the proceeds of the Seller Notes and the Company’s guarantee. The Seller Notes

  were scheduled to mature on December 31, 2040.

         48.     Argent approved and caused the ESOP to purchase 8 million shares of the

  Company for more than fair market value and failed to prudently and loyally investigate the

  appraisal of the stock to ensure that the ESOP paid no more than fair market value.

         49.     Argent also approved and caused the ESOP to enter into the loans totaling $198

  million.

        50.     The Sale of the Company to the ESOP was announced on December 15, 2016 to

 all Choate’s employees.




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        51.     After the transition the 2016 Sale of the Company to the ESOP, William Millard

 Choate moved from the position of President to Chairman & Chief Executive Officer, and Dave

 Priester became President and Chief Operating Officer.

        52.     Less than a month after the sale of the Company Stock to the ESOP for $24.75

 per share, the shares were valued at just $8.10 per share (as of December 31, 2016).

        53.     In other words, less than a month after the Sale, the Company stock was worth

 just one-third (1/3) of what the ESOP paid for it.

        54.     On December 31, 2016, the total assets of the ESOP were negative $124 million.

        55.     A prudent fiduciary, who had conducted a prudent investigation, would have

 uncovered facts indicating that the sale of 80% of the Choate stock to the ESOP from the Selling

 Shareholders for the purchase price of $198 million was too high, especially taking into account

 the warrants that were provided to the Selling Shareholders as part of the deal.

        56.     The price the ESOP paid for the 8 million shares of Company stock, which at the

 time represented 80% of the Company, should have taken into account: (a) that the warrants

 could ultimately dilute the ESOP’s share of ownership to just 60% of the Company and (b) that

 the warrants allowed the Selling Shareholders to retain elements of control over the Company.

         57.     Plaintiff sought through a Freedom of Information Act (“FOIA”) request all

  documents that the Department of Labor (“DOL”) has regarding the 2016 Sale of the Company

  to the ESOP. DOL withheld all the requested documents (other than the Forms 5500s that are

  publicly available from the DOL’s website) on the grounds that DOL has an open investigation

  of the Choate Construction ESOP and that release of the requested documents "could

  reasonably be expected to interfere with" enforcement proceedings.

                               CLASS ACTION ALLEGATIONS




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         58.     Plaintiff brings these claims as a class action pursuant to Fed. R. Civ. P. 23 (a)

  and (b), on behalf of all participants in the Choate Construction Company ESOP from

  December 9, 2016 or any time thereafter who vested under the terms of the Plan and those

  participants’ beneficiaries. Excluded from the Class are Defendants and their immediate family

  members; any fiduciary of the Plan; the officers and directors of Choate Construction (including

  any of its subsidiaries or affiliates), or of any entity in which a Defendant has a controlling

  interest; and legal representatives, successors, and assigns of any such excluded persons.

         59.     Numerosity: The members of the Class are so numerous that joinder of all

  members is impracticable. According to the Forms 5500 filed with the Department of Labor, at

  the end of 2017 there were 369 participants, within the meaning of ERISA § 3(7), 29 U.S.C. §

  1002(7), in the ESOP.

         60.     Upon information and belief, employees of Choate and participants in the Choate

  ESOP are located in multiple states and are geographically disbursed, which favors Class

  treatment.

         61.     Commonality. The issues of liability are common to all members of the Class

  and are capable of common answers as those issues primarily focus on Defendants’ acts (or

  failure to act). Questions of law and fact common to the Class as a whole include, but are not

  limited to, the following:

                a.      Whether Defendants engaged in a prohibited transaction under ERISA by

        causing or knowingly participating in the ESOP’s purchase of Choate stock from the

        Selling Shareholders for more than adequate consideration in 2016;

                b.      Whether Argent engaged in a prudent investigation of the proposed

        purchase of 8 million shares of Choate stock by the ESOP in the 2016 Sale;




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                c.      Whether Argent breached a fiduciary duty to ESOP participants by

        causing the ESOP to purchase Choate stock in 2016 for more than fair market value;

                d.      Whether Argent and the appraisers of the Company fully took into account

        the effect the warrants would have on the value of the 8 million shares purchased by the

        ESOP;

                e.      Whether the Board Defendants breached their fiduciary duties by failing to

        adequately monitor Argent;

                f.      The amount of losses suffered by the ESOP as a result of Defendants’

        violations of ERISA and/or other appropriate remedial and equitable relief.

         62.     Typicality. Plaintiff’s claims are typical of those of the Class because their

  claims arise from the same event, the sale of the Company to the Choate ESOP. Specifically,

  Plaintiff challenges the legality of a plan-wide transaction, whereby stock is allocated to all

  participants’ accounts based on the same valuation of the Company. As a result, Plaintiff, like

  other ESOP participants in the Class, has received less in her ESOP account based on the same

  purchase price of Choate stock, and continues to suffer such losses because Defendants have

  failed to correct the overpayment by the ESOP.

         63.     Because Plaintiff seeks relief on behalf of the Choate ESOP pursuant to §§

  502(a)(2) and (a)(3) of ERISA, 29 U.S.C. §§ 1132(a)(2) and (a)(3), her claims are not only

  typical of, but the same as, a claim under § 502(a)(2) brought by any other Class member.

         64.     Adequacy. Plaintiff will fairly and adequately represent and protect the interests

  of the Class. Plaintiff does not have any interests antagonistic to or in conflict with those of the

  Class. She understands that this matter cannot be settled without the Court’s approval.

         65.     Defendants do not have any unique defenses that would interfere with Plaintiff’s

  representation of the Class.



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           66.   Plaintiff has retained counsel competent and experienced in complex class

  actions, ERISA and employee benefits litigation, and with particular experience and expertise in

  ESOP litigation.

           67.   Rule 23(b)(1)(A). Class certification is appropriate pursuant to Fed. R. Civ. P.

  23(b)(1)(A). Fiduciaries of ERISA-covered plans have a legal obligation to act consistently with

  respect to all similarly situated participants and to act in the best interests of the ESOP and their

  participants. This action challenges whether Defendants acted consistently with their fiduciary

  duties or otherwise violated ERISA as to the ESOP as a whole. As a result, prosecution of

  separate actions by individual members would create the risk of inconsistent or varying

  adjudications that would establish incompatible standards of conduct relating to the ESOP.

           68.   Rule 23(b)(1)(B). Class certification is also appropriate pursuant to Fed. R. Civ.

  P. 23(b)(1)(B). Administration of an ERISA-covered plan requires that all similarly situated

  participants be treated the same. Resolving whether Defendants fulfilled their fiduciary

  obligations to the ESOP and engaged in prohibited transactions with respect to the Plan would,

  as a practical matter, be dispositive of the interests of the other participants in the ESOP even if

  they are not parties to this litigation and would substantially impair or impede their ability to

  protect their interests if they are not made parties to this litigation by being included in the

  Class.

           69.   Rule 23(b)(2). Class certification is appropriate pursuant to Fed. R. Civ. P.

  23(b)(2) because Defendants have acted or refused to act on grounds generally applicable to the

  Class, making appropriate declaratory and injunctive relief with respect to Plaintiff and the

  Class as a whole. This action challenges whether Defendants acted consistently with their

  fiduciary duties or otherwise violated ERISA as to the ESOP as a whole. The members of the




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  Class are entitled to declaratory and injunctive relief to remedy Defendants’ fiduciary

  violations. As ERISA is based on trust law, any monetary relief consists of equitable monetary

  relief and is either provided directly by the declaratory or injunctive relief or flows as a

  necessary consequence of that relief.

         70.     Rule 23(b)(3). Additionally, and alternatively, class certification is appropriate

  pursuant to Fed. R. Civ. P. 23(b)(3) because questions of law and fact common to all Class

  members predominate over any questions affecting individual members of the Class, and

  because a class action is superior to other available methods for the fair and efficient

  adjudication of this action. Common questions related to liability will necessarily predominate

  over any individual questions precisely because Defendants’ duties and obligations were

  uniform to all participants and therefore all members of the Class. Plaintiff and all Class

  members have been harmed by the ESOP paying more than fair market value for Choate stock

  in the 2016 Sale. As relief and any recovery will be on behalf of the Plan, common questions as

  to remedies will likewise predominate over any individual issues.

         71.     A class action is a superior method to other available methods for the fair and

  efficient adjudication of this action. As the claims are brought on behalf of the ESOP, resolution

  of the issues in this litigation will be efficiently resolved in a single proceeding rather than

  multiple proceedings and each of those individual proceedings could seek recovery for the

  entire ESOP. The losses suffered by individual Class members are small compared to the

  expense and burden of individual prosecution of this action. In addition, class certification is

  superior because it will obviate the need for unduly duplicative litigation which might result in

  inconsistent judgments about Defendants’ duties with regard to the ESOP.




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          72.     Notice will be provided to all members of the Plaintiff Class to the extent

  required by Rule 23.

          73.     The following factors set forth in Rule 23(b)(3) also favor certification of this

  case as a class action:

                  a)     No other litigation concerning this controversy has been filed by any other

         members of the Class;

                  b)     The names and addresses of the Class are available from the ESOP.

                                          COUNT I
          Prohibited Transaction in Violation of ERISA § 406(a), 29 U.S.C. §§ 1106(a)
                                       (Against Argent)

          74.     Plaintiff incorporates the preceding paragraphs as though set forth herein.

          75.     ERISA § 406(a)(1), 29 U.S.C. § 1106(a)(1), requires that a plan fiduciary “shall

  not cause the plan to engage in a transaction, if he knows or should know that such transaction

  constitutes a direct or indirect (A) sale or exchange, or leasing of any property between the plan

  and a party in interest,” or a “(D) transfer to, or use by or for the benefit of, a party in interest, of

  any assets of the plan.”

          76.     ERISA § 406(a)(1)(B), 29 U.S.C. § 1106(a)(1)(B) requires that a plan fiduciary

  shall not cause the plan to engage in a transaction, if he knows or should know that such

  transaction constitutes the direct or indirect loan of money between the plan and a party in

  interest.

          77.     ERISA § 3(14), 29 U.S.C. § 1002(14) defines a “party in interest” to include

                 any fiduciary … of such employee benefit plan”

                 “an employer any of whose employees are covered by such plan [the ESOP]”




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               “an employee, officer or director or a 10 percent or more shareholder” of an

                employer whose employees are covered by the ESOP.

 29 U.S.C. § 1002(14)(A), (C) and (H).

         78.     Each of the Selling Shareholders were employees, officer or directors of the

  Company at the time of the Sale of their stock to the ESOP, and, as such were parties in interest

  to the Plan within the meaning of ERISA § 3(14)(H), 29 U.S.C. § 1002(14)(H).

         79.     Argent, acting as the Trustee of the ESOP, approved and caused the ESOP to

  purchase 8 million shares of the Company from the Selling Shareholders. As such it caused the

  ESOP to engage in a prohibited transaction in violation of ERISA §§ 406(a)(1)(A) and (D), 29

  U.S.C. §§ 1106(a)(1)(A) and (D).

         80.     As Trustee, Argent also caused the Choate ESOP to borrow $141 million from

  the Selling Shareholders, which constituted a prohibited transaction in violation of ERISA §

  406(a)(1)(B), 29 U.S.C. § 1106(a)(1)(B).

         81.     The Company at all relevant times was/is an employer whose employees are

  covered by the ESOP. As such, the Company was a party in interest to the Plan within the

  meaning of ERISA § 3(14)(C), 29 U.S.C. § 1002(14)(C).

         82.     As Trustee, Argent also caused the Choate ESOP to borrow $57 million from the

  Company, which constituted a prohibited transaction in violation of ERISA § 406(a)(1)(B), 29

  U.S.C. § 1106(a)(1)(B).

         83.     Argent, as Trustee approved each payment by the ESOP of principal and/or

  interest to the Selling Shareholders in connection with the $141 million Seller Notes and the

  $57 million Company Loan. Each of those payments constitutes a separate violation of ERISA

  § 406(a)(1)(D), 29 U.S.C. § 1106(a)(1)(D).



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          84.     Defendant Argent is liable for appropriate equitable relief under 502(a)(2), 29

  U.S.C. 1132(a)(2), for the violations of ERISA §§ 406(a)(1)(A), (B), and (D), 29 U.S.C. §

  1106(a)(1)(A), (B), and (D).

                                               COUNT II

         Prohibited Transaction in Violation of ERISA § 406(a), 29 U.S.C. §§ 1106(a)
                              (Against Committee Defendants)

          85.     Plaintiff incorporates the preceding paragraphs as though set forth herein.

          86.     ERISA § 406(a)(1)(D), 29 U.S.C. § 1106(a)(1)(D), requires that a plan fiduciary

  “shall not cause the plan to engage in a transaction, if he knows or should know that such

  transaction constitutes a “direct or indirect transfer to, or use by or for the benefit of, a party in

  interest, of any assets of the plan.”

          87.     The Committee Defendants were/are named fiduciaries and acted as the Plan

  Administrator to the ESOP at all relevant times.

          88.     Each of the Selling Shareholders were employees, officer or directors of the

  Company at the time of the Sale of their stock to the ESOP, and, as such were parties in interest

  to the Plan within the meaning of ERISA § 3(14)(H), 29 U.S.C. § 1002(14)(H).

          89.     The Company at all relevant times was/is an employer whose employees are

  covered by the ESOP. As such, the Company was a party in interest to the Plan within the

  meaning of ERISA § 3(14)(C), 29 U.S.C. § 1002(14)(C).

          90.     Pursuant to the Trust Agreement for the ESOP the Committee Defendants

  determined how much of the employer contributions made to the ESOP would be sued to make

  payments on the outstanding loan to the Selling Shareholders and/or the outstanding loan to the

  Company.




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          91.     The Committee Defendants directed Argent as to the amount of payment from

  the ESOP to repay principal and/or interest to the Selling Shareholders in connection with the

  $141 million Seller Notes and/or to repay principal and/or interest to the Company in

  connection with the $57 million Company Loan. Each of those payments of principal and/or

  interest constitutes a separate violation of ERISA § 406(a)(1)(D), 29 U.S.C. § 1106(a)(1)(D).

          92.     The Committee Defendants are liable for appropriate equitable relief under

  502(a)(2), 29 U.S.C. 1132(a)(2), for the violations of ERISA §§ 406(a)(1)(A), (B), and (D), 29

  U.S.C. § 1106(a)(1)(A), (B), and (D).

                                         COUNT III
         Knowing Participation in a Violation of ERISA § 406(a), 29 U.S.C. §§ 1106(a)
                                    (Against Selling Shareholders)

          93.     Plaintiff incorporates the preceding paragraphs as though set forth herein.

          94.     ERISA § 406(a)(1)(A), 29 U.S.C. § 1106(a)(1)(A) prohibits the direct or indirect

  sale or exchange, or leasing of any property between the plan and a party in interest[.]”

          95.     ERISA § 406(a)(1)(D), 29 U.S.C. § 1106(a)(1) prohibits the direct or indirect

  “transfer to, or use by or for the benefit of, a party in interest, of any assets of the plan.”

          96.     ERISA § 406(a)(1)(B), 29 U.S.C. § 1106(a)(1)(B) prohibits the direct or indirect

  loan of money between the plan and a party in interest.

         97.      ERISA § 3(14), 29 U.S.C. § 1002(14)(H) defines a “party in interest” to include

 “an employee, officer or director or a 10 percent or more shareholder” of an employer whose

 employees are covered by the ESOP.

          98.     Each of the Selling Shareholders were employees, officer or directors of the

  Company at the time of the Sale of their stock to the ESOP, and, as such were parties in interest

  to the Plan within the meaning of ERISA § 3(14)(H), 29 U.S.C. § 1002(14)(H).




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         99.     Additionally, some of the Selling Shareholders owned 10% or more of the

  Company’s total outstanding stock at the time of the Sale to the ESOP, and as such, were parties

  in interest to the Plan within the meaning of ERISA § 3(14)(H), 29 U.S.C. § 1002(14)(H).

         100.    ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), authorizes a plan participant to bring

  a civil action for “appropriate equitable relief” against a non-fiduciary “party in interest” to a

  transaction barred by § 406(a), 29 U.S.C. § 1106(a). See Harris Trust and Sav. Bank v. Salomon

  Smith Barney, Inc., 120 S. Ct. 2180, 2183 (U.S. 2000).

         101.    William Millard Choate and the other Selling Shareholders knowingly

  participated in the 2016 Sale because they were involved in the negotiations of the terms of the

  Sale and signed the Sale Agreement.

         102.    As such, the Selling Shareholders, all of whom are parties in interest and who

  knowingly participated in the 2016 Sale, are liable for appropriate equitable relief as non-

  fiduciary parties in interest, including the disgorgement of any ill-gotten gains they received in

  connection with the 2016 Sale.

         103.    Upon information and belief, the proceeds that the Selling Shareholders received

  from the Sale are traceable to violations of ERISA, namely the Sale of the 8,000,000 shares of

  Company stock by the Selling Shareholders on December 9, 2016. Thus the funds may be

  disgorged pursuant to ERISA Section 502(a)(3), 29 U.S.C. § 1132(a)(3).

         104.    Upon information and belief, the ill-gotten gains received as a result of the Sale

  are traceable to the Selling Shareholders’ possession because the Selling Shareholders have

  maintained accounting and/or tax records regarding the proceeds received from the Sale.

         105.    The Selling Shareholders are also noteholders of the $141 million loan the ESOP

  used to complete the transaction. As parties to the loan and signatories of the loan agreements,




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  the Selling Shareholders knowingly participated in the ESOP’s loan which constituted a

  prohibited transaction in violation of ERISA § 406(a)(1)(B), 29 U.S.C. § 1106(a)(1)(B).

         106.    Each payment by the ESOP of principal and/or interest to the Selling

  Shareholders in connection with the $141 million Seller Notes constitutes a separate violation of

  ERISA § 406(a)(1)(D), 29 U.S.C. § 1106(a)(1)(D).

         107.    As parties-in-interest, Defendants Selling Shareholders are liable for appropriate

  equitable relief under 502(a)(3), 29 U.S.C. 1132(a)(3), for the violations of ERISA §§

  406(a)(1)(A), (B), and (D), 29 U.S.C. § 1106(a)(1)(A), (B), and (D).

                                       COUNT IV
       Prohibited Transaction in Violation of ERISA § 406(b), 29 U.S.C. §§ 1106(b)
  (Against Board Defendants and Committee Defendants Who Sold Choate Stock to the ESOP)

         108.    Plaintiff incorporates the preceding paragraphs as though set forth herein.

         109.    ERISA § 406(b), 29 U.S.C. § 1106(b), prohibits a fiduciary from “deal[ing] with

  the assets of the plan in his own interest or for his own account[.]” 29 U.S.C. § 1106(b)(1).

         110.    Because the Board of Directors was a named fiduciary to the ESOP at the time of

  the 2016 Sale, and appointed the Trustee in connection with the 2016 Sale, the Director

  Defendants were fiduciaries of the Choate Construction ESOP.

         111.    Because the Committee was a named fiduciary to the ESOP at the time of the

  2016 Sale, and was the Plan Administrator to the ESOP, the Committee Defendants were

  fiduciaries of the Choate Construction ESOP.

         112.    Any Board Defendants or Committee Defendants who arranged for the ESOP to

  buy their stock in the Company dealt with the ESOP assets in their own interest within the

  meaning of ERISA § 406(b)(1).




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           113.     ERISA § 406(b)(3), 29 U.S.C. § 1106(b)(3) prohibits a plan fiduciary from

  “receiv[ing] any consideration for his own personal account from any party dealing with such

  plan in connection with a transaction involving the assets of the plan.” 29 U.S.C. § 1106(b)(3).

           114.     Any Board Defendants or Committee Defendants who sold shares of Choate

  stock to the ESOP received plan assets into their own personal accounts within the meaning of

  ERISA § 406(b)(3).

           115.     All Board Defendants and Committee Defendants who arranged for the ESOP to

  purchase their shares of Choate stock through the 2016 Sale violated ERISA §§ 406(b)(1) and

  (3), 29 U.S.C. §§ 1106(b)(1) and (3) for which they are liable to restore the losses caused by

  these prohibited transactions, to disgorge profits and/or to provide other appropriate remedial

  and equitable relief to Plaintiff and the ESOP.

                                             COUNT V
                  Breach of Fiduciary Duties Under ERISA §§ 404(a)(1)(A) and (B),
                                 29 U.S.C. §§ 1104(a)(1)(A) and (B)
                                          (Against Argent)

           116.     Plaintiff incorporates the preceding paragraphs as though set forth herein.

           117.     ERISA § 404(a)(1)(A), 29 U.S.C. § 1104(a)(1)(A), requires that a plan fiduciary

  act “for the exclusive purpose of providing benefits to participants and the beneficiaries of the

  plan.”

           118.     ERISA § 404(a)(1)(B), 29 U.S.C. § 1104(a)(1)(B) requires that a plan fiduciary

  act with the care, skill, prudence, and diligence under the circumstances then prevailing that a

  prudent person acting in a like capacity and familiar with such matters would use in the conduct

  of an enterprise of a like character and with like aims.

           119.     In the context of a sale of the sponsoring company/employer to an ESOP, the

  duties of loyalty under ERISA § 404(a)(1)(A) and prudence under ERISA § 404(a)(1)(B)



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  require a fiduciary to undertake an appropriate investigation to determine that the ESOP and its

  participants pay no more than adequate consideration in a transaction involving the ESOP’s

  assets.

            120.   Pursuant to ERISA § 3(18), adequate consideration for an asset for which there is

  no generally recognized market means the fair market value of the asset determined in good

  faith by the trustee pursuant to the terms of the plan and in accordance with the Department of

  Labor regulations.

            121.   Argent was required to undertake an appropriate and independent investigation

  of the fair market value of the Choate stock before approving the 2016 Sale in order to fulfill its

  fiduciary duties. Among other things, Argent was required (a) to conduct a thorough and

  independent review of any appraisal of the Company’s shares that were purchased by the ESOP

  and to make certain that reliance on any and all appraisals or advice from valuation experts was

  reasonably justified under the circumstances; (b) to investigate the credibility of the

  management assumptions and earnings projections underlying the valuation; and (c) to make an

  honest, objective effort to read and understand the valuation reports and opinions and question

  the methods and assumptions that did not make sense. Argent was also required to question the

  prudence and loyalty of the warrants issued to the Selling Shareholders which, on information

  and belief, allowed them to retain elements of control of the Company and which could dilute

  the value of the 8 million shares purchased by the ESOP from 80% ownership to 60%

  ownership.

            122.   An appropriate investigation would have revealed that the valuation used for the

  2016 Sale and the $198 million price ultimately paid by the ESOP for 80% of the Company did

  not reflect the fair market value of the Choate stock purchased by the ESOP.




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           123.    An appropriate investigation would have revealed that it was not in the best

  interest of the ESOP participants to purchase 80% of the Company and allow certain Selling

  Shareholders to exchange their shares for warrants which would allow them to retain elements

  of control over the Company and to dilute the ESOP’s ownership in the Company to 60% (from

  80%).

           124.    After the 2016 Sale, Argent was obligated to remedy the ESOP’s overpayment

  for Choate stock, including correcting the prohibited transaction by attempting to restore the

  amount overpaid by the ESOP to the Selling Shareholders, including, if necessary, by filing a

  lawsuit on behalf of the ESOP.

           125.    By causing the ESOP to engage in the 2016 Sale, and failing to restore the losses

  caused thereby, Argent breached its fiduciary duties under ERISA § 404(a)(1)(A) and (B), 29

  U.S.C. § 1104(a)(1)(A), (B), and caused losses to the ESOP and the individual retirement

  accounts of the participants in the ESOP.

                                             COUNT VI
                  Failure to Monitor in Violation of ERISA §§ 404(a)(1)(A) and (B)
                                29 U.S.C. §§ 1104(a)(1)(A) and (B)
                                     (Against Board Defendants)

           126.    Plaintiff incorporates the preceding paragraphs as though set forth herein.

           127.    ERISA § 404(a)(1)(A), 29 U.S.C. § 1104(a)(1)(A), requires that a plan fiduciary

  act “for the exclusive purpose of providing benefits to participants and the beneficiaries of the

  plan.”

           128.    ERISA § 404(a)(1)(B), 29 U.S.C. § 1104(a)(1)(B), requires that a plan fiduciary

  act with the care, skill, prudence, and diligence under the circumstances then prevailing that a

  prudent person acting in a like capacity and familiar with such matters would use in the conduct

  of an enterprise of a like character and with like aims.



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         129.    ERISA § 404(a)(1)(A) and (B) requires that any fiduciary with the power to

  appoint and/or remove other fiduciaries has an obligation to undertake an appropriate

  investigation that the appointed fiduciary is qualified to serve in the position as fiduciary and to

  monitor the appointed fiduciary to ensure that he/she remains qualified to act as the fiduciary

  and is acting in compliance with the terms of the Plan and in accordance with ERISA. If the

  appointed fiduciary has violated or continues to violate ERISA, the monitoring fiduciary must

  remove the appointed fiduciary and attempt to restore any losses to the plan caused by the

  ERISA violations.

         130.    The ESOP Trust Agreement provides that Argent was appointed by the Board

  Defendants.

         131.    The Board Defendants breached their duties under ERISA § 404(a)(1)(A) & (B),

  29 U.S.C. § 1104(a)(1)(A) &(B), because they failed to monitor Argent to ensure that the ESOP

  paid no more than fair market value for Company stock in the 2016 Sale and to ensure that

  Argent took remedial action after the 2016 Sale.

                                          COUNT VII
                        Violation of ERISA § 410 and ERISA § 502(a)(3)
                              (against Argent and Board Defendants)

         132.    Plaintiff incorporates the preceding paragraphs as though fully set forth herein.

         133.    ERISA § 410(a), 29 U.S.C. § 1110(a), provides in relevant part (with exceptions

  not applicable here) that “any provision in an agreement or instrument which purports to relieve

  a fiduciary from responsibility or liability for any responsibility, obligation, or duty under this

  part [ERISA Part IV] shall be void as against public policy.”

         134.    ERISA §§ 502(a)(2) and (3), 29 U.S.C. § 1102(a)(2) and (3), authorize a plan

  participant to bring a civil action to enjoin any act or practice which violates any provision of




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  ERISA or the terms of the plan, or to obtain other appropriate equitable relief to redress

  violations of ERISA or the terms of the plan or to enforce any provisions of ERISA.

            135.   Section 9 of the Trust Agreement states that the Company will indemnify and

  hold harmless Argent and its directors, employees, and officers from all claims, damages,

  expenses, fees, liabilities, and losses to which they may become subject relating to the 2016

  Sale.

            136.   This attempt to relieve Argent, its directors, officers and employees of their

  fiduciary responsibility or liability under ERISA and/or to have Choate Construction Company

  (and thereby the ESOP) be responsible for Argent’s fiduciary liability is void as against public

  policy.

            137.    To the extent any Board Defendant agreed to this indemnification of Argent

  which is void against public policy under ERISA § 410, that Defendant breached his or her

  fiduciary duties under ERISA by failing to discharge his duties with respect to the Plan solely in

  the interest of the participants and beneficiaries (A) for the exclusive purpose of providing

  benefits to participants and beneficiaries and (B) with the care, skill, prudence and diligence

  under the circumstances then prevailing that a prudent person acting in a like capacity and

  familiar with such matters would use in the conduct of an enterprise of like character and aims,

  in violation of ERISA § 404(a)(1)(A) and (B), 29 U.S.C. § 1104(a)(1)(A) and (B).

            138.   The indemnification provision in the Trust Agreement and any similar provision

  in the engagement agreement between Argent and Choate Construction Company, and any

  other agreements or instruments governing the relationship between Argent and other

  Defendants, should be declared void ab initio.




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         139.    Defendants, including Argent, should be ordered to disgorge any indemnification

  payments made by the Company or the ESOP, plus interest.

                                        PRAYER FOR RELIEF

         Plaintiff on behalf of herself and the Class, prays that judgment be entered against

 Defendants on each Count and that the Class be awarded the following relief:

         A.     Declare that Defendants have each breached their fiduciary duties under ERISA;

         B.     Declare that Defendants Argent and the Selling Shareholders are liable for the

 violations of ERISA §§ 406(a)(1)(A), (B) and (D), 29 U.S.C. §§ 1106(a) (A), (B) and (D),

 through the 2016 Sale;

         C.     Enjoin Argent, the Committee Defendants, and the Board Defendants from further

 violations of their fiduciary responsibilities, obligations and duties;

         D.     Remove Argent as the Trustee of the Choate Construction Company ESOP and/or

 bar it from serving as a fiduciary of the ESOP in the future;

         E.     Appoint a new independent fiduciary to manage the Choate Construction

 Company ESOP and order the costs of such independent fiduciary be paid for by Defendants;

         F.     Order each fiduciary found to have violated ERISA, including breaching

 his/her/its fiduciary duties to the ESOP to jointly and severally pay such amount to restore all the

 losses resulting from their breaches and to disgorge all profits made through use of assets of the

 ESOP;

         G.     Order that Defendants provide other appropriate equitable relief to the ESOP,

 including but not limited to disgorging any ill-gotten gains they received, forfeiting their ESOP

 accounts, providing an accounting for profits, ordering surcharge against Defendants to restore




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 losses to the ESOP, and imposing a constructive trust and/or equitable lien on any funds

 wrongfully held by any of the Defendants;

         H.      Order Defendants to provide all accountings necessary to determine the amounts

 Defendants must remit to the ESOP to restore losses and to disgorge any profits fiduciaries

 obtained from the use of ESOP assets or other violations of ERISA § 404 and 406, 29 U.S.C.

 § 1104 and 1106;

         I.      An order enjoining the Defendant from dissipating any of the proceeds they

 received from the 2016 Sale held in their actual or constructive possession until the ESOP

 participants’ rights can be adjudicated;

         J.      An order enjoining the Defendant from transferring or disposing of the any of the

 proceeds they received from the 2016 Sale to any person or entity, which would prejudice,

 frustrate or impair the ESOP participants’ ability to recover same;

         K.      To the extent necessary, issue an injunction or order creating a constructive trust

 into which all ill-gotten gains, fees and/or profits paid to any of the Defendants in violation of

 ERISA shall be placed for the sole benefit of the ESOP’s participants and beneficiaries. This

 includes, but is not limited to, the ill-gotten gains, fees and/or profits paid to any of the

 Defendants that have been wrongly obtained as a result of breaches of fiduciary duty or

 prohibited transactions or other violations of ERISA;

         L.      Order, pursuant to ERISA § 206(d)(4), that any amount to be paid to the ESOP

 accounts of the Class can be satisfied by using or transferring any breaching fiduciary’s ESOP

 account in the Plan (or the proceeds of that account) to the extent of that fiduciary’s liability;




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         M.      Require Defendants to pay attorneys’ fees and costs pursuant to ERISA § 502(g),

 29 U.S.C. § 1132(g), and/or order payment of fees and expenses to Plaintiffs’ counsel on the

 basis of the common benefit or common fund doctrine out of any money recovered for the Class;

         N.      Issue a preliminary and permanent injunction barring Defendants and each of

 them from seeking to enforce any indemnification agreement between Defendants and the

 Company or the ESOP and declare that any such indemnification agreement violates ERISA §

 410, 29 U.S.C. § 1110, and is therefore null and void;

         O.      Order Defendants and each of them to reimburse the ESOP or the Company for

 any money advanced by the ESOP or the Company, respectively, under any indemnification

 agreement or other instrument purporting to indemnify and Defendant;

         P.      Order that Defendants and each of them provide other appropriate equitable relief

 to the ESOP, including but not limited to rescission, surcharge, providing an accounting for

 profits, and imposing a constructive trust and/or equitable lien on any funds wrongfully held by

 Defendants;

         Q.      Award pre-judgment interest and post-judgment interest; and

         R.      Award such other and further relief to which the Court determines that Plaintiffs

 and the Class are entitled pursuant to ERISA § 502(a)(2) and/or § 502(a)(3), 29 U.S.C. §

 1132(a)(2) and/or 1132(a)(3), or pursuant to Rule 54(c) of the Federal Rules of Civil Procedure

 or that is equitable and just.




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 Dated: April 17, 2019              Respectfully submitted,

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